        Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 1 of 10 PageID #:1
                                                                                                             5

                               I.INITED STATES DISTRICT COURT
                               NORTHERI\ DISTRICT OF ILLINOIS                      B,ECEIVED
                                       EASTERN DIVISION
                                                                                           DEC   04 201?
                                                                                                            ")
                                                                                    c..EJt?HSDEfSBTS'*'


                                                                 17c''t8765
(Enter above the full name                                       Judge Lee
of the plaintiff or plaintiffs in                                Mag. Judge Gilbert
this action)                                                     PC9

                         vs.                          Case No:
                                                      (To be     supplied   by the Clerk of this   Court)




fuo-tcht:n Sto# l{ }&?

sr,rr*f lbZ ll
(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CIIECK ONE ONLY:

                COMPLAINT TINDER THE CIVIL RIGHTS ACT, TITLE                          42 SECTION T983
                U.S. Code (state, county, or municipal defendants)

                COMPLAINT TINDER TrrE CONSTITUTION ("BMNS" ACTTOI9, TrrLE
                28 SECTION 1331U.S. Code (federal defendants)

                OTIIER (cite        statute,   if known)

BEFORE FILLING OT]T THIS COMPL,AINT, PLEASE REFERTO "INSTRUCTIONS FOR
FILING," FOLLOW THESE INSTRUCTIONS CAREFULLY.
      Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 2 of 10 PageID #:2




I.    Plaintiff(s):

      A.        Name:

      B.        List all aliases:

      C,        Prisoner identification   number:   MpOg ?        t



      D.        Place of present confinement:

      E.        Address:13.{23            E llSO*hAvC Rohinx'n,-Ti                      (r.}r{<.i
      (Ifthere is more than one plaintifi then each plaintiff must list his or her name, aliases, I.D.
      number, place   of confinement, and current address according to the above format on a
      separate sheet of paper.)

tI.   Defendant(s):
      (In A below, place the full name of the first defendant in the first blank, his or her official
      position in the second blanh and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C.)

      A.        Derendant:     T-erf      i   ChO.,   rt S+cflL t l6?fl

                Place of Employment:

      B.        Defendant:

                Title:

                Place of Employment:

      C.        Defendant:

                Title:

                Place of Employment:

      (If you have more than three defendants, then all additional defendants must be listed
      according to the above format on a separate sheet of paper.)




                                                                                          Revised 9/2007
      I
     Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 3 of 10 PageID #:3



o
              D.f.nc\orrFs:

    A. iDefenAan+ z Terri Chavcz- :rha.+ tl5?8
          t




          ir+re',
          I
                     Po   licr* c+f       ic.=,r
          I
          I


          lPtoc," cP
                          -Lrnploy*d: Chrca3c Hicc D"frar{rn,rn
          I


    bl Dsfendon-t, Hec-lor Moroles shr+ $obs
          I


          i-fifl": Pol ica cS{i cor
o         I
          l
          'i?lac,e
                     oft*ptnwrt: chi @qo Poli cuDcVartrrer*
          i
          I

     C'l l&"tAa,rt-, V-c,&vrq                 fu,rkhon:'h,+              W?>Z
          l)
          lT,tla: Polw-.Offi
          i
          I
          I
                                          ut
          lnooot f",,,ployr^ent, Gi*3,
          I
                                                             ?ot,c,e,   Departmerrt-
          i

     DID*urdqrrf , CSfi ce,r tterna,n Aez ttr& las I I
          i
          !
          I




                                        c{
          I


          fr,fla:     Police CSfi
o         I
          I


          lPla"u     of f-p\oyr"lent: Oricap Polico Daprt-rn.xt
          I
          l
          t

          I
       Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 4 of 10 PageID #:4




[II.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.     Name of case and docket number:


       B.     Approximate date of filing lawsuit:

       C.     List all plaintiffs (if you had co-plaintiffs), including any aliases:   X /n


       D.     List all defendants:




       E.     Court in which the lawsuit was filed (if fedpral court, name the district; if state court,
                                                     't I/t
              name the   county):
       F.     Name ofjudge to whom case was assigned:            t A-
                                                                    f




       G.     Basic   claim."d"' NA

       H.     Disposition of this case (for example: Was the case dismissed? Was it appealed?
              Is it still pending?):




              Approximate date of disposition:


IFYOUHAVE FILED MORE THAN ONE LAWSIIIT,THENYOUMUST DESCRIBETHE
ADDITIONAL LAWSTIITS ON ANOTMR PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MAI\-Y CASES YOU IIAVE PREYIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT TIIIS SECTION COMPLETELY,
AND FAILT]RE TO DO SO MAY RESI]LT IN DISVtrSSAL OF YOUR CASE. CO.
PLAINTITFS MUST ALSO LIST ALL CASES TIIEY HAVE FILED.




                                                                                            Revised 92007
       Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 5 of 10 PageID #:5




IV.   Statement of Claim:

      State here as briefly as possible the facts ofyour case. Describe how each defendant is
      involved, including names, dates, and places. Do not give any legal arguments or cite any
      cases or statutes. If you intend to allege a number of related claims, number and set forth
      each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
      if   necessary.)




                                                                                                       les




                                                                                      Revised 912007
             Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 6 of 10 PageID #:6
'a




      f lr,,ir*flF r."e* *lnr,n [:lcrecl i'" H^ndc,,-FG
     -|-he l"r -lrr,nq[,^rt t ' c'<. rtru '&:t-tefl ,n r.' c h
                           ,                     ,hi
     (C.I ltc p r) " ochc,r, ( C,'c'tch,ovr stor+f tq a>s
      -nd (r.FFi c, rX*-r,,^r,nd      e z slrc,# ltrl t,l thr n
                         '
      Arr ive c[ and c^n d * ' c*e d c, scerrh <-t
      f lc,inrt-ifls f ^cheis ond lrat'-ntin3    n:                                    -


      rn ' tl . f lo(nti#F t.uc's *hr n .1rcn<Porterl
     *r-.#ne lr.l *h Distric*Pnlicp station
      usha.a *loerl CnndrrcteC on interragnfion
      nnd -Fi I erl ? her(r < Plrtr ntilF t , 'c's- held
       ln +lre C ooK cnr'"rf3 '.Jii \ :s-- f . "'rl hnf
      rnnn*h< {rnrrr }..loveirnhe r l} , Fc \5 r, I intn
                                        r.r,Afr\




       C-f nfee <, L. 'e rS Di"=,I-,,^iss g I dC 1z n n
              J,
      -Ittce"r', [ (eerr h cnd leizure he.ceusp
     qtnteJ:
          )Alr,l
                 A+-\^rne-t I t, ro,S u' nch I e'-l.rc> Prn"'lrl c (-
     +he Q tI r-r d ic dc'[l prad -rrc'n:criPJ5
      cFr.,,hat u,.,s S..i d i^ AII<3rd t'llcc'f{,



                                                                            Revised 912007
     Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 7 of 10 PageID #:7




v.   Relieft

     State briefly exactly what you want the court to do for               you. Make no legal arguments. Cite
     no cases or statutes.




     The plaintiffdemands that the case be tried by            a   jury.                   nNo
                                                               CERTIFICATION

                             By signing this Complaint,               I certify
                                                                        that the facts stated in this
                             Complaint are true to the best    of my   knowledge,    information and
                             belief. I understand that if this certification is not correct, I may be
                             subject to sanctions by the Court.

                             Signed     tni,   .L7t            aayoffiovnwhot2g           t7




                             (I.D. Number)



                                    l3a]3 L. Il5@*h A^re
                               R.obinscrr
                             (Ad-dre-ss)
                                                           ,   rr          h,lt{   5.-+


                            OFFICIAL SEAL
                           TERISA J BEARD
                    NOTARY PIJ[]LIC - S IATE OF ILLINOIS
                     MY COMMISSION EXPIRES:08/20/20            /r*^9- 6'"^I tr't-T- t7

                                                                                                   Revised 9/2007
   Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 8 of 10 PageID #:8




STATE OF      ILLINOIS              )
                                    )SS
couNTY oF cooK           )

                             TN   THE CIRCUIT COURT OF COOK COUNTY
                                         CRIMINAL DIVISION

PEOPLE OF TTIE STATE OF                   ILLINOIS      )
                                                        )
                         -vs-                           )       No. 15CR199000I
                                                        )
             ANTHOI\ry       ZAFIRO                     )

                MOTTON TO OUASH ABB0ST ANp SUPPRESS EVIDE|iCE

       Now come the defendant, AItrTHONY ZAFIRO, by his attorney, AMY                    P.


CAMPANELLI, Public Defender of Cook County, through JANICE M. KOWALSKI,

Assistant Public Defender and moves this Honorable Court to the quash arrest and suppress from

introduction into evidence the direct and indirect products ofsaid arrest.

        l.      On November 13, 2015, petitioner was improperly stopped, searched, and arested

                at or near 1923 N. Campbell Ave., Chicago, Illinois, by Chicago Police Officers

                Teni Chavez, Star # I1578; Hector Morales, Strr # 13068; Zachary Cuatchon,

                Star   # 14228; and Officer Hernaradez, Star # 16811, acting in their official

                capacity.

       2.       The stop and search was a seiaue as contemplated by the Fourth Amendment to

                the United States Constitution and    Article l, Section   6,   of the lllinois

                 Constitution.

        3.       The Fourth Amendment of the United States Constitution and Article               l,   Section 6,

                 of the Illinois Constitution, guarantee the right of persons to be secure from

                 unreasonable search and seizure    oftheir persons, houses, papers and effects.

        4.       The Exclusionary Rule prohibits the introduction into evidence of the direct and
Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 9 of 10 PageID #:9



         indirect products of unreasonable searches and seizures. Mapp V. Ohio, 367, U.S.

         643 (1961); Wong Sun v. U.S.,371 U.S. 471,(1963).

   5.    The stop and search anest of petitioner was made without authority of a valid

         search or arrest   warant.   Payton_v, )rI.Y.,445 U.S. 573, 1980.

   6.    The conduct of petitioner prior to his stop, searctr, and arrest, walking in the north

         alley of the 2400 block of Cortland Ave. and then westbound toward Carnpbell

         Ave., was such as would not reasonably be interpreted by the aresting officers as

         constituting probable cause that petitioner had committed or was about to comrnit

         a crime.

   7.    Subsequent to petitioner's arrest he was searched, photographed, fingerprinted and

         otherwise processed, questioned and exhibited by the police.

   8.    During the stop and search a:rest and subsequent detention, the police and

         prosecution became aware of the existence of physical evidence, specifically a

         black semi-automatic Luger Hi-Point model C9, with one live 9mm round, and

         other evidence, all the direct and indirect fruits of the arrest and detention, which

         connect petitioner with a crime.

   9.    During the arrest and subsequent detention, verbal and written statements, as well

         as gestural signals were   elicited from defendant, the detention having provided the

         police with the forum for interrogation.

   10.   As a result of the anest, the prosecution has acquired knowledge that         it   intends to

         employ in the prosecution of this cause in violation of 4th & 14th Amendments of

         the United States Constitution and    Article l, Section 6, of the Illinois

         Constitution.
 Case: 1:17-cv-08765 Document #: 1 Filed: 12/04/17 Page 10 of 10 PageID #:10
 ,t




       WI{EREFORE, pedtioner respectfully moves this Honorable Court to quash his arrest,

because ofthe absence ofauthority or probable cause to effect   it, and to suppress from

introduction into evidence the following

       A.     Physical evidEnce discovered directly and indirectly as a result   of
              the arest and detention;

       B.     Statements, uterances, reports of gestures and responses by
              petitioner during the detention following the arrest;

       C.     Any in-court or out of court identification of petitioner;

       D.     Photographs, fingerprints, and other information, the product of the
              processing of petitioner following his arest, and the fruits thereof;

       E.     AII other knowledge and the fnrits thereof, witnesses, statements,
              whether written, oral or gestural and physical evidence which is
              the direct and indirect product of the arest.


                                                     Respectfully submitted,

                                                     AMY P. CAMPANELLi #30295
                                                     Public Defender of Cook County


                                                     By:

                                                     Assistant Public Defender
